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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:16-CR-00094 NONE-SKO
12                                 Plaintiff,            STIPULATION TO CONTINUE TRIAL AND
                                                         TRIAL CONFIRMATION AND ORDER
13                          v.                           THEREON
14   OTONEL CARDENAS-TORRES, ET. AL.
                                                         Date: September 15, 2020
15                                 Defendants.           Time: 8:30 a.m.
                                                         Honorable NONE
16

17

18          The United States of America, by and through MCGREGOR W. SCOTT, United States

19 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendants, by

20 and through their respective attorneys of record, hereby request and stipulate to continue the trial in this

21 case from September 15, 2020 at 8:30 am until April 27, 2021 at 8:30 a.m.

22          On May 13, 2020, the Court entered General Order 618, which suspended all jury trials in the

23 Eastern District of California until further notice. This General Order was entered to address public

24 health concerns related to COVID-19. Further, pursuant to General Order 611 and 620, this Court’s

25 declaration of judicial emergency under 18 U.S.C. § 3174, and the Ninth Circuit Judicial Council’s

26 Order of April 16, 2020 continuing this Court’s judicial emergency, this Court has allowed district
                                                                        1
27 judges to continue all criminal matters to a date after May 1, 2021.

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              A judge “may order case-by-case exceptions” at the discretion of that judge “or upon the
     request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order
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 1          Although the General Orders and declaration of emergency address the district-wide health
 2 concern, the Supreme Court has emphasized that the Speedy Trial Act’s end-of-justice provision

 3 “counteract[s] substantive openendedness with procedural strictness,” “demand[ing] on-the-record

 4 findings” in a particular case. Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-

 5 record findings, there can be no exclusion under” § 3161(h)(7)(A). Id. at 507. And moreover, any such

 6 failure cannot be harmless. Id. at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153

 7 (9th Cir. 2000) (explaining that a judge ordering and ends-of-justice continuance must set forth explicit

 8 findings on the record “either orally or in writing”).

 9          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory
10 and inexcusable—General Orders 611, 612, 617, 618, and 620 and the subsequent declaration of judicial

11 emergency require specific supplementation. Ends-of-justice continuances are excludable only if “the

12 judge granted such continuance on the basis of his findings that the ends of justice served by taking such

13 action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C. §

14 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets forth, in the record of the

15 case, either orally or in writing, its reason or finding that the ends of justice served by the granting of

16 such continuance outweigh the best interests of the public and the defendant in a speedy trial.” Id.

17          The General Orders and declaration of judicial emergency exclude delay in the “ends of justice.”
18 18 U.S.C. § 3161(h)(7) (Local Code T4). Although the Speedy Trial Act does not directly address

19 continuances stemming from pandemics, natural disasters, or other emergencies, this Court has

20 discretion to order a continuance in such circumstances. For example, the Ninth Circuit affirmed a two-

21 week ends-of-justice continuance following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d

22 764 (9th Cir. 1981). The court recognized that the eruption made it impossible for the trial to proceed.

23 Id. at 767-68; see also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to

24 exclude time following the September 11, 2001 terrorist attacks and the resultant public emergency).

25 The coronavirus is posing a similar, albeit more enduring, barrier to the prompt proceedings mandated

26 by the statutory rules. If continued, this Court should designate a new date for the trial conference.
27 ///

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     will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020).
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 1 United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any pretrial continuance must be

 2 “specifically limited in time”).

 3          In light of the societal context created by the foregoing, this Court should consider the following
 4 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

 5 justice exception, § 3161(h)(7) (Local Code T4).2 In addition to the public health concerns cited by

 6 General Order 617, and presented by the evolving COVID-19 pandemic, an ends-of-justice delay is

 7 particularly apt in this case because:

 8          •   The government’s attorney has a medical condition that the CDC recognizes as one making
 9              her particularly vulnerable should she contract COVID-19.
10          •   The trial in this case cannot be conducted by videoconferencing (or telephone conferencing if
11              videoconferencing is not reasonably available) pursuant to General Order 614 (CARES Act).
12          The parties request that time be excluded for the additional reason that counsel for the
13 government is undergoing treatment for a medical condition that impedes her ability to prepare for trial.

14 Defense counsel require additional time for investigation and review of discovery. The proposed trial

15 date represents the earliest date that all counsel are available thereafter, taking into account counsels’

16 schedules, defense counsels’ commitments to other clients, and the need for preparation in the case and

17 further investigation. The parties further believe that time should be excluded, in that failure to grant the

18 requested case schedule would unreasonably deny the defendants continuity of counsel, and

19 unreasonably deny both the defendants and the government the reasonable time necessary for effective

20 preparation, taking into account the parties’ due diligence in prosecuting this case. 18 U.S.C. Section

21 3161(h)(7)(B)(iv). Based on the above-stated findings, the ends of justice served by the schedule as

22 requested outweigh the interest of the public and the defendant in a trial within the original date

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            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1 prescribed by the Speedy Trial Act. Therefore, the parties request that the Court exclude the time until

 2 the new trial date from calculations under the Speedy Trial Act.

 3 Dated: August 18, 2020                                     MCGREGOR W. SCOTT
                                                              United States Attorney
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 5                                                            /s/ Kathleen A. Servatius
                                                              KATHLEEN A. SERVATIUS
 6                                                            Assistant United States Attorney

 7
     Dated: August 18, 2020                               /s/ Alonzo Gradford
 8                                                        Attorney for Otonel Torres-Cardenas
 9 Dated: August 18, 2020                                 /s/ David A. Torres
                                                          Attorney for Defendant Roberto Palacios-Garcia
10

11

12                                                    ORDER

13          IT IS HEREBY ORDERED that the trial in this case be continued from September 15, 2020

14 until April 27, 2021 at 8:30 a.m.

15          IT IS FURTHER ORDERED THAT the ends of justice served by the schedule set forth herein as

16 requested outweigh the interest of the public and the defendants in a trial within the original date

17 prescribed by the Speedy Trial Act for the reasons stated in the parties’ stipulation. For the purpose of

18 computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must

19 commence, the time period of September 15, 2020 until April 27, 2020, inclusive, is deemed excludable

20 pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a continuance granted by the Court

21 at the parties’ request on the basis of the Court’s finding that the ends of justice served by taking such

22 action outweigh the best interest of the public and the defendant in a speedy trial.

23 IT IS SO ORDERED.

24
        Dated:     August 18, 2020
25                                                     UNITED STATES DISTRICT JUDGE

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